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 SO ORDERED.

 SIGNED this 20 day of June, 2024.




                                         _____________________________________________
                                         Joseph N. Callaway
                                         United States Bankruptcy Judge
 ___________________________________________________________________




                       UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               RALEIGH DIVISION

  IN RE:                                 )
                                         )   CASE NO. 22-02094-5-PWM
  WILLIAMS LAND CLEARING,                )
  GRADING AND TIMBER LOGGER,             )   CHAPTER 11
  LLC,                                   )
                                         )
         Debtor.                         )
                                         )
  COMMERCIAL FUNDING, INC.,              )
                                         )
         Plaintiff,                      )
  v.                                     )
                                         )
  WILLIAMS LAND CLEARING,                )
  GRADING, AND TIMBER LOGGER             )
  LLC;      CARDINAL      CIVIL          )
  CONTRACTING, LLC; KB HOME              )
  RALEIGH-DURHAM            INC.;        )
  ARRINGDON THD, LLC; TRI                )   ADVERSARY PROCEEDING NO.:
  POINTE HOMES HOLDINGS, INC.;           )
  HABITAT     FOR    HUMANITY,           )   22-00150-5-JNC
  ORANGE COUNTY, N.C., INC.; RST         )
  VI 401, LLC; HIGHLAND RIDGE,           )
  LLC a/k/a HIGHLAND RIDGE-NC,           )
  LLC;              WELLFIELD            )
  DEVELOPMENT, LLC; KL TOLL              )
  FORT AIV, LLC; and TOLL                )
  SOUTHEAST LP COMPANY, INC.,            )
  BC BETHPAGE PARTNERS, LLC;             )
                                         )


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  and    WEST         BEND       MUTUAL )
  INSURANCE COMPANY,                      )
                                          )
         Defendants.                      )
                                          )
  CARDINAL CIVIL CONTRACTING, )
  LLC,                                    )
                                          )
         Plaintiff,                       )
  v.                                      )
                                          )
  WILLIAMS          LAND        CLEARING, )
  GRADING, AND TIMBER LOGGER )
  LLC;       LAMONTE            WILLIAMS; )
  COMMERCIAL FUNDING, INC.; ACE )
  FUNDING SOURCE, LLC; COUCH OIL )            ADVERSARY PROCEEDING NO.:
  COMPANY OF DURHAM, INC., and
  APEX FUNDING SOURCE, LLC
                                          )
                                          )   22-00151-5-JNC
         Defendants.                      )
                                          )
  and                                     )
                                          )
  COUCH OIL COMPANY OF DURHAM, )
  INC.,                                   )
                                          )
         Third-Party Plaintiff,           )
                                          )
  v.
                                          )
  WEST BEND MUTUAL INSURANCE              )
  COMPANY,                                )
                                          )
  Third-Party Defendant.                  )
                                          )
  COMMERCIAL FUNDING, INC.,               )
                                          )
         Plaintiff,                       )
                                          )
  v.                                      )   ADVERSARY PROCEEDING NO.:
                                          )
  WILLIAMS LAND CLEARING,                 )   22-00149-5-JNC
  GRADING, AND TIMBER LOGGER )
  LLC and CARDINAL CIVIL                  )
  CONTRACTING, LLC,                       )
                                          )
          Defendants.                     )




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         ORDER GRANTING JOINT MOTION TO DISMISS WITH PREJUDICE

        THIS MATTER coming before the United States Bankruptcy Court upon Commercial

 Funding, Inc. (“CFI”), Williams Land Clearing, Grading, and Timber Logger LLC (“Williams

 Land”), Cardinal Civil Contracting, LLC (“Cardinal”), and Couch Oil Company of Durham, Inc.

 (“Couch Oil”)’s Joint Motion to Dismiss with Prejudice pursuant to Federal Rule of Civil

 Procedure 41(a)(2), made applicable to the action by Bankruptcy Rule 7041 (the “Motion”) to

 dismiss the above-referenced adversary proceedings with prejudice, pursuant to the Settlement

 Agreement approved by this Court by order dated May 15, 2024. [Dkt. 47], no. 22-00151-5-JNC,

 and good cause having been shown,

       WHEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that the Motion is hereby

ALLOWED; and adversary proceeding nos. 22-00149-5-JNC, 22-00150-5-JNC, and 22-00151-5-

JNC, including all claims, counterclaims, crossclaims, and third-party claims against all parties, are

hereby DISMISSED with prejudice.

                                      END OF DOCUMENT




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